 Case 3:21-cr-30011-DWD Document 47 Filed 05/12/21 Page 1 of 2 Page ID #97




                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,                   )
                                            )
                    Plaintiff,              )
                                            )
             vs.                            )    Case No. 21-CR-30011-DWD
                                            )
LAGARDO R. WRIGHT,                          )
AIJEIGH T. MCSHAN, and                      )
CEDRIC A. SHEARD, JR.,                      )
                                            )
                    Defendants.             )

                         ORDER GOVERNING DISCOVERY

DUGAN, District Judge:

      The Government moves for entry of an Order Governing Discovery (Doc. 46). The

Government seeks the entry of a protective order pursuant to Federal Rule of Criminal

Procedure 16(d) and relief from its redaction obligations under 5 U.S.C. § 552a(b), which

prohibits the disclosure of certain records an

unless an exception applies or pursuant to a court order. The Government represents

that the materials to be disclosed to defense counsel in this matter are voluminous and

contain significant PII, the redaction of




      With the agreement of the parties, and the Court having determined that there is

good cause of the issuance of this Order Governing Discovery, the Court GRANTS the

Motion (Doc. 46) and ORDERS as follows:

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 Case 3:21-cr-30011-DWD Document 47 Filed 05/12/21 Page 2 of 2 Page ID #98




       1.     Pursuant to 5 U.S.C. § 552a(b)(11), the United States is permitted to disclose

discovery materials to defense counsel which contain Personal Identifying Information



       2.     Pursuant to Fed. R. Crim. P. 16(d)(1), the Court places the following

restrictions on the use and dissemination of materials containing PII: (a) defense counsel

are prohibited from publicly disclosing any materials which contain PII; and (b) defense

counsel are further prohibited from providing copies of any materials containing PII to

their clients. This order does not prohibit defense counsel from reviewing materials

containing PII with their clients, provided that copies of these materials are not provided

to Defendants.

       3.     The discovery materials containing PII may be disclosed to co-counsel,

office personnel, consultants, or expert witnesses, for the sole purpose of assisting

Defendants in preparing, trying, or appealing this matter. Only as much of the materials

as may be useful for such purpose may be disclosed. Any person to whom counsel

discloses the content of discovery materials as permitted by this Order, must be informed

that such material is subject to this Order and is confidential, and must be treated as such.

       SO ORDERED.

       Dated: May 12, 2021




                                                  DAVID W. DUGAN
                                                  United States District Judge


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